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                                                       EXHIBIT 17



                    Angela Russell, et al.
                             v.
            Management & Training Corporation, et al.




                             Angela Russell
                             June 13, 2023




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     Case 3:22-cv-00294-HTW-LGI        - June
                                  Document    13, 2023
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 1               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
 2                        NORTHERN DIVISION

 3
       ANGELA RUSSELL, AS ADMINISTRATRIX
 4     OF THE ESTATE OF JEREMY T. RUSSELL
       AND ON BEHALF OF THE WRONGFUL DEATH
 5     BENEFICIARIES OF JEREMY T. RUSSELL                        PLAINTIFF

 6
       vs.                            CAUSE NO. 3:22-CV-294-HTW-LGI
 7

 8     MANAGEMENT & TRAINING CORPORATION;
       JOHN AND JANE DOE CORRECTIONAL OFFICERS;
 9     VITALCORE HEALTH STRATEGIES, LLC; EVELYN DUNN;
       STACEY KITCHENS; WILLIAM BRAZIER, AND
10     JOHN AND JANE DOE MEDICAL PROVIDERS         DEFENDANTS

11

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       *******************************************************
13
                    DEPOSITION OF ANGELA DENISE RUSSELL
14
       *******************************************************
15

16
                           APPEARANCES NOTED HEREIN
17

18

19
                    TAKEN AT THE INSTANCE OF: DEFENDANTS
20                        LOCATION: ADAMS & REESE
                     1018 HIGHLAND COLONY PARK, SUITE 800
21                          RIDGELAND, MISSISSIPPI
                        DATE: TUESDAY, JUNE 13, 2023
22                            TIME: 10:00 A.M.

23

24

25     REPORTED BY:    KELLYE S. SHOWS, CSR #1290




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                                                                                    2

 1                     A P P E A R A N C E S

 2

 3           MR. GRAFTON BRAGG
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12           MR. RAY ANTHONY YOUNG, JR.
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15                 CORPORATION; JOHN AND JANE DOE
                   CORRECTIONAL OFFICERS
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 1     to the hospital they didn't find any drugs in him.

 2     Now, I don't know if it's true or not, but that's

 3     what they said.

 4           Q.     Do you know who on the zone had illegal

 5     narcotics?

 6           A.     No.     They didn't tell me that.

 7           Q.     Okay.     Are you contending that MTC gave

 8     Jeremy Russell access to the illegal narcotics?

 9                  MR. BRAGG:     Objection.      You can answer.

10           A.     No.     No, I'm not contending that.          I don't

11     -- no, I don't think an officer did it.

12     BY MR. YOUNG:

13           Q.     Okay.     Who do you think gave him access

14     to illegal narcotics?

15                  MR. BRAGG:     Objection.      You can answer.

16           A.     Well, an offender.        Or I don't know or

17     somebody who has access to bring them in.

18     BY MR. YOUNG:

19           Q.     It could have been a visitor.            Right?

20                  MR. BRAGG:     Objection.      Can I get a

21     continuing objection to she doesn't have personal

22     knowledge about this?

23                  MR. YOUNG:     Sure.

24                  MR. BRAGG:     Okay.

25           A.     Yeah.     Well, I don't have -- that's right.




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